 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number            ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                                                                                               Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                               _________________
                                                                                        ******7720
                                                                                        ____  ____ ____ ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                                                                                  08 01 2022
                                                                                 ____/_____/______
        The next postpetition payment from the debtor(s) is due on:
                                                                                 MM / DD / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________
        c. Total. Add lines a and b.                                                                                        (c)            0.00
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              ____/_____/______
        due on:                                                                  MM / DD / YYYY


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Debtor 1        _______________________________________________________                          Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
       all payments received;
       all fees, costs, escrow, and expenses assessed to the mortgage; and
       all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                   __________________________________________________                            Date    ____/_____/________
                   Signature




 Print            Jesse      A.P. Baker
                  _________________________________________________________                      Title   ___________________________________
                   First Name                      Middle Name          Last Name




 Company           _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           _________________________________________________________
                   Number                 Street


                   ___________________________________________________
                   City                                                 State       ZIP Code




 Contact phone     (______) _____– _________                                                     Email ________________________




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                                                                  Certificate of Service


I hereby certify that a copy of the foregoing Response to Notice of Final Cure Payment was served on the parties listed below by postage prepaid U.S.
Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered with the Court on

Date: June 30, 2022


 Chapter 13 Trustee:                   Michael G. Malaier
 Trustee Address:                      2122 Commerce Street
                                       Tacoma, WA 98402
 Trustee Email:                        ecfcomputer@chapter13tacoma.org

 Debtor’s Counsel Name:                Amanda N Martin
 Debtor’s Counsel Address:             936 N. 34th St. Ste. 300
                                       Seattle, WA 98103
 Debtor’s Counsel Email:               Amanda@nwclc.org

 Debtor 1 Name:                        Michael Lee Sorensen
 Debtor 2 Name:                        Karla Ann Sorensen
 Debtor’s Mailing Address:             18230 Alexander Lane SW Rochester, WA 98579



                                                                                            /s/ Ciara M. Reboya




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